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           EXHIBIT E
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From:                             Krabill, Laura E. (Phila)
Sent:                             Monday, December 5, 2022 6:47 PM
To:                               Charlson, Michael; Antonelli, Marisa
Cc:                               Goldberger, M. Norman (Phila); King, Jr., Adrian R. (Phila); Summers, Shawn (Phila)
Subject:                          Norcross / Republic First PI motion
Attachments:                      Proposed Scheduling Order.pdf; Proposed Order Granting Preliminary Injunction.pdf;
                                  Norcross Declaration.pdf; Motion for Preliminary Injunction.pdf; Memorandum in Law in
                                  Support of Motion for Preliminary Injunction.pdf; Exhibit D.pdf; Exhibit C.pdf; Exhibit
                                  B.pdf; Exhibit A.pdf


Hi, Michael and Marisa. Michael, I tried calling you, but I understand you are tied up for another hour or so. I was
hoping to speak first, but we didn’t want to delay sending the preliminary injunction motion papers that we filed today
in the Norcross action. They are attached. Per your discussion with Norm, we waited to file until after Thanksgiving and
then our respective clients were discussing a potential global resolution, but unfortunately they have not come to an
agreement. I believe Norm asked whether you would accept service of the Complaint in this action on behalf of all
defendants but we have not heard back on that yet. Can you let us know on that by tomorrow morning so we can
proceed with service of the complaint and these papers if not? Thanks and have a nice night.

Laura


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